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            EXHIBIT 6
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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 JD ANDERSON, COREY HARDIN, ERIC
 LEE, BRETT MESSIEH, DAVID
 MUHAMMAD, RANJITH THIAGARAJAN,
 CHASE WILLIAMS, and TOKEN FUND I                          CASE NO. 1:20-cv-02803-ALC
 LLC, individually and on behalf of all others
 similarly situated,

        Plaintiffs,

 v.

 BINANCE, CHANGPENG ZHAO, YI HE,
 and ROGER WANG,

        Defendants.



                  NOTICE OF MOTION TO WITHDRAW AS COUNSEL

       PLEASE TAKE NOTICE that Kyle W. Roche, Esq. of Roche Freedman, LLP (“RF”)

respectfully moves the Court pursuant to Local Rule 1.4 to withdraw as one of the attorneys for

the Proposed Class. Mr. Roche is no longer involved in RF’s class action practice. Accordingly,

pursuant to Local Rule 1.4, Mr. Roche respectfully requests to no longer receive docketing

notifications via the ECF system. Mr. Roche also asks that the Court approve this withdrawal.

DATED: August 31, 2022                      Respectfully Submitted,


                                            ROCHE FREEDMAN LLP


                                            /s/ Kyle W. Roche
                                            Kyle W. Roche
                                            99 Park Avenue, 19th Floor
                                            New York, NY 10016
                                            kyle@rochefreedman.com

                                            Co-Lead Counsel and Attorneys for Plaintiffs
      Case
       Case3:21-cv-06118-JD
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                                      and the Proposed Class



SO ORDERED this _____ day of ____________, 2022.



_____________________________________________
HON. ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE




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                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on August 31, 2022, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to counsel of record.


                                             /s/ Kyle W. Roche
                                             Kyle W. Roche




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